                               UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


UNITED STATES                                   JUDGE: MICHAEL S. NACHMANQi
                                                CASE NO.:
                                                HEARING: , ■             ,
                                                DATE: ^j-V \' \      \CXO
                                                TIME:
                                                REPORTER: FTR GOLD SYSTEM
DEFENDANT(S)                                    CLERK: CHRISTINA MARQUEZ

COUNSEL FOR UNITED STATES
COUNSEL FOR DEFENDANT:.
INT^RETER:                                         GUAGE
i><jraFT. APPEAREp(^THROUG^ COUNSEL(_)FAILED TO APPEAR( )WARRANT TO BE ISSUED
         Vvo-vVtjto Con              n            )DEFT. ADMITS( )DENIES VIOLATION
     )RULE 5 ADVISEMENT
     )COURT TO APPOINT COUNSEL                    )COURT FINDS DEFT. IN VIOLATION
     )DEFT.TO RETAIN COUNSEL                      )DEFT CONTINUED ON PROBATION
      I CONTACT PREVIOUS COUNSEL & REAPPOINT
        iLIMINARY EXAMINATION WAIVED
      !0URT FINDS PROBABLE CAUSE
     )GpVT NOT SEEKING DETENTION
><3^.REQUESTS DETENTIOH><TjRANTED( )DENIED
      DEFT PLACED ON PR BOND WITH CONDITIONS    ( )DEFT CONTINUED ON BOND
J;;>^EFTj^>^EMANDED
 CONDITIONS OF RELEASE:
($         )UNSECURED($          )SECURED( )PTS( )3"^ PARTY{ )TRAVEL RESTRICTED
( )APPROVED RESIDENCE( )SATT( )PAY COSTS( )ELECTRONIC MONITORING
( )MENTAL HEALTH TEST/TREAT( )ROL( )NOT DRIVE( )FIREARM( )PASSPORT
( )AVOID CONTACT{ )ALCOHOL & DRUG USE( )EMPLOYMENT

 MINUTES:
            CXjS-Vo                                         0        \       u    i
        OVT ADDUCED EVIDENCE &   RESTSjXrgXHIBITS:_l                         tl
( )DEFT ADDUCED EVIDENCE & RESTS ( )EXHIBITS:.

          PV-n-                                                      V^erw-eA



( )GOVT.( )DEFT.( )JOINT MOTION TO CONTINUE( )GRANTED( )DENIED

 NEXT APPEARANCE:
                                                                AT                AM OR PM
( )DH( )PH( )STATUS( )TRIAL( )JURY( )PLEA( )SENT( )PBV( )SRV( )VCR( )R5
( )ARRAIGN( ) IDENTITY( )OTHER JUDGE

^^JxJm^FTER continued FOR FURI I H:K PROCEEDINGS BEFORE THE GRAND JURY
( )RELEASE ORDER GIVEN TO USMS
